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                           THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEVADA
                                         ****


 UNITED STATES OF AMERICA,

                         Plaintiff,
                                                             2:10-cr-00287-GMN-VCF
 vs.
                                                             MINUTES OF THE COURT
 LANCE KELLOW,
                                                             DATED: February 19, 2013
                         Defendant.


                                                     THE HONORABLE GLORIA M. NAVARRO,
UNITED STATES DISTRICT JUDGE

DEPUTY CLERK: Michael Zadina            COURT RECORDER: Araceli Bareng

COUNSEL FOR PLAINTIFF: Kathryn Newman and Christina Brown

COUNSEL FOR DEFENDANT: Stephen Stein and Luis Rojas

MINUTES OF PROCEEDINGS: Jury Trial (Day 2)

10:24 a.m. The Court convenes outside the presence of the jury.

The Court hears representations by Mr. Rojas and Mrs. Newman concerning Juror # 15. The Court
excused Juror #15.

The Court hears representations on the pending Motion in Limine (#149). The Court grants in part and
denies in part the Motion in Limine (#149).

10:42 a.m. The Court convenes in the presence of the jury.

Opening statements are presented by Mrs. Newman on behalf of the Government and Mr. Rojas on
behalf of the Defendant.

11:39 a.m. Jury admonished and excused. The Court stands at recess.

12:45 p.m. The Court reconvenes in the presence of the jury. All parties are present.

MARIUS ESSAK, is called to the stand, sworn, and testified on direct examination by Mrs. Newman.

2:30 p.m. The Court stands at recess.



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2:48 p.m. Mr. Rojas and Ms. Newman stipulate to the admission of Defendant’s Exhibits A-L.
2:51 p.m. The Court reconvenes in the presence of the jury. All parties are present.

MARIUS ESSAK, having previously been sworn, testified on cross examination by Mr. Rojas.

4:43 p.m. Jury admonished and excused. The Court stands at recess.

IT IS HEREBY ORDERED the criminal jury trial in this matter shall continue to Wednesday,
February 20, 2013, at 8:30 a.m.

Mr. Essak admonished and excused.

Court adjourned at 4:50 p.m.



                                                            LANCE S. WILSON, CLERK
                                                            U.S. DISTRICT COURT

                                                            BY:          /S/
                                                            Michael Zadina, Deputy Clerk




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